Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 1 of 27




                              .UNITED STATESDISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                           22-20340-CR-WILLIAMS(s)
                             CASE NO.
                                          16 U.S.C. § 3372(a)(l)                              KAN
                                          16 U.S.C. § 3373(d)(l), (2)
                                          16 u.s.c. § 3374
                                          18 u.s.c. § 371                            Nov 3, 2022
                                          18 u.s.c. § 545
                                          18 u.s.c. §2
                                          18 U.S.C. § 982(a)(2)(B)
                                                                                                  Miami



  UNITED STATES OF AMERICA

  v.

  OMALISS KEO,
  MASPHAL KRY,
  JAMES LAU,
  DICKSON LAU,
  SUNNY CHAN,
  RAPHAEL CHEUNG MAN,
  SARAH YEUNG, and
  HING IP CHUNG,
                   Defendants. /

                                  SUPERSEDING INDICTMENT

        . The Grand Jury charges that:

                                    GENERAL ALLEGATIONS

         At all times material to this Indictment�

         1.      The Lacey Act made it unlawful-for any person to import, export, transport, _sell,

  receive, acquire, or purchase any fish or wildlife or plant taken, possessed, transported, or sold in

  violation of any law, treaty, or regulation of the United States. 16-U.S.C. § 3372(a)(l).

         2.      The Lacey Act, 16 U.S.C. §§ 3372(d)(l) and (2), also made it unlawful for any

  person to make or submit any false record, account, or label for, or any false identification of, any
Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 2 of 27




         w ildlifewhich hasbeen,orisintendedtobe-(1)imported,export
          .                                   .                   ed,fransported,sold,purchased,
          orreceivedfrom any foreign cotmtry;or'
                                               (2)transpol-tedintnterstateorforeigncommerce.
                        The Lacey Act defnes çûwildlife''as GGany wild nnim al,whether alive or dead,

          inbludingwithoutlimit>tionsany wildm nmm al,bird,reptile,am phibian,fish,m ollusk,cnzstacean,
         ''
          arthtoppd,coelenterate,orotherinvertebrate,whether ornotbred,hatched,orborn in captivity,

          andincludesanypart,product,egg,oroffspringthereof.'' 16U.S.C.j3371(a).
                        In order to protect certain species against over-exploitation,the United States

         becam e a signatoiy to an internationaltreaty known aàthe Convention on InternationalTradein
 .
         EndangeredSpeciescifW ildFatmaandFlora(hereinafter6:CITES''). Dependingonthçrequired
          levelofprotection needed by '
                                      a species,CITES usesa system ofAppendixesto classify protçcted
     '
         wildlife and plants.Appendix IofCITES includesspecieswhjch arethreasenedwith exrtinction
                                                  .



 '
          and forwhich trade mustbe subjectto particulady stfictregulation and forwhici no trade is
          allowed forcommercialpurposes.CITES,Art.11at! 1.Appendix 11ofCITES includeswildlife
          qpecies which although notnecessarily threatened with extinction now,m ay becom e so unless

         tradein specimensofsuch speciesisstrittlyregulated.CITES,Art.11at!2.
                        The United States and the Kingdom of Cambodia,along with over 180 other
                                 '
         cotmtries,welepartiesto CITES,aildàoundtoabide'
                                                       by itsprovisionsandrestrktions.Partiesto
         the Convention regùlate'trade in specim ens of various speciqs and their pads,products,and

         derivatives through à,system of permits (CICITES Permifl. Such docllments enable the
          Convention partiestp m onitorthe effectsofthevolllme and type oftrade to enstlretrade islegal

         and notdetrim entalto the survivalofthe species included in the variousA ppendixes.

                        TheUnited.statesFish apdW ildlifeSbrviceCTW S''),DepartmentoftheIpterior,
 '
         isdesignatedby CongresspllrsuanttotheEndangeredSpeciesAct(ESA),Title16,UnitedStates
    Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 3 of 27


                                                                                                                                                                             '
                                                                                                                                                 .

            Code,Section 1537(â),as the CITES)tenforc
                                                  .
                                                    'emçntauthority wijhin the Unijed Statqs. The                                        .                               .                                                                             .
                                                                                                                                                                                                                                                                               .




            D epartmrnt,oftheIpteriorpublishkjregulatiönsto implèm entCITES in 50 C.F.R.PM 23.A list
                                    .

                                        . '                                                                              /
            ofa11speciejpritectedby CITES and theE$A implep eptation program isl aintainedptlrsuantto
            ' ..                                                                                                                                                                                   .
        .


            theCtmventionwbythe'CITES Secretariat.50C.F.R.jj2
                                                            .3.7and23.9.
                                s7;
                                '

                                                  .
                                                                  The prpvisionsofCITES are implemçntçd through the ESA,whjch jtatesin
                                                                                              .
                                                                                                                                     .               .
                                                                                                                                                                         '           ' .
                                                                                                                                                                                                                             ''                       ..                           '           'xu...           '       .



            relevantpat'
                       t,.           w 511forany pe'rson ...toengagei,nanytradeinanys
                         'tltist1111:.                                              'pecimensrofwildlifej
            contrary to theprovisiohsofk..(CITESqor.topos
                                    ,
                                                      . sessany.spedimens(ofwildliej'tradedcontrary
                                                        1 .                                              .               .                               .           .                                                                                                     .
                                                                                                                                                                 '

                                        .                             .
            totheproyijlons'Of .(CITES):,,:qTrade,,means,nmoyj
                                                             .gotjwyztjay
                                                                        .jagy,uuoxport.4'
                                                                                        ,clr
                                                                                           j'
                                                                                            y;s,Xrrt.I.at
                                                                                         ....




            !(c).çtspecimeù''meansFcany animal:..whetheraliveprdead.''CITES,At4.1at!((b).
                                        à.                        Long-tailedmacaques(M acacafascicu
                                                                                                   '/tzrj-vl,xsometiine'salspknôwn.asçmb-eating
        macaques, are proteqtçd under Appendix 11't)f clTEs. 50 c.y'.lt j'j 23.7 apd 23.9,
                                                                                         '
            hkps://èhecklisi.cites.örg'/#/eiserclouputlavoutialphabetical&levèlof listinz=o&show syn
                                -                                              =.                                                                                                ,                 .       -             .        ..                                                       .
            '
                                                  .               .                                                                                          '                                                  -'                                                         .



        ,
            onyms-iishowtauthofsl&s
                            .    '
                                   how enzlish=l.
                                                &show uspapish=l&s-hoF french-l&scientific na
                                                                                 : '          .'         -       .               .           .                                                                                                                         .   -
                                                                                                                                                                                                                                                                                                            -
                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                           .                       .                   .


            me=Macaca+?ajcicularis&paae=l&perpace=20.The longctailrd m >cAque has been regulated                                             ..




            underCITES since 1977:
                                                                                                                                                                                 -                                                                                                                                  ( .z
                                        9.4'                      Beforeimportingpw
                                                                                  specimen ofany anirùalprotectedlmderAppepdix 11(lfCITES                                                                                                                                  .
                                                              q
                                                              .
                                                              ,                 .                                    .       .'                                                                                                                            .                                                                .

            inSotheùnitedstates,avalidCITPSexpbrtpennitmustbeobtainçdxipm thecompepntautio
                                                                                         'rity
                                                          ,
                                                                  '                                          '
                                                                                                             o
                                                                                                             .                                                                                     .                .         y                   '
        .
            clftheèotmtrk ofexpc)rtcirre-export.A separateorikinalora.trdecopy of
                                                                                .aCITESPetqpismust
                   .                                                                                                                                         .                                                                                                                 '


        .   be issued befôrçp $heysimjo
                                    .  r'tocçtu'sand the dpcumentin
                                                              u      txaccompap.y kach shipmrptand $e 7
                                                                  ..us    .J
                                                                                                                                                                                                                                  Y                                .                       '
                                                                                                                                                                                                                                                                                                        '
                        .                                                                    '                                                                                                                                                                             *           .                    '-
                                                  .                                                                          '                                                        '                                                                        '
                   i
                   '                                                                ''                                                                                                                                                                                                           '
                                              ..
.
            presentedtor.
            .
                        w supônimpor:tatiop.
                                           ë
                                             clvss-a,.lv.jjI-a
                                                      .      -
                                                               ndc;soc.,.k jcs.2o(c),as,,2$(b).  :

                                                                                                         '
                                                                                                                                 .
                                                                                                                                                                                                                                           .. ,
    .                                                                                                                                                                                                                                                                              .



                '                       1.
                                         0..                      CITES Pçpnits are individually ntlm bered àhd.include inform ation qlich as the                                          .
                   '-                                                                                                                                                                                      'x                                                                                           '
                                                  .                                      ..
                                                                                                                                                                                               '                                       %                               '
                                                                                         .                                                                                                                      .
                                                                                                                                                                                                                '

            importerqfh
                      record,:èxpirter,speçjejbeing.
                                .        - .
                                             .
                                                   tmded,adescription ofthes.pecimens,tfle'CITES
                                                   '                  ,


            A ppçndix num ber,a sotlrce code,thé qùantity,gnd
                        ( . '                 .
                                                              the date ofissugnce.Thesotlrcecodeinpicates
                                                            A - ..                                   .
                                                                                                         .
                                                                                                                                                                                                       .
                                                                                                                                                                                                                     .
Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 4 of 27




   theparticularsofthespeciments)listedontheCITESPermit:amongothers,thecodeçûW ''denotes
   aspecimentakenfrom thewild;CGR''denotesaranchedspecimen,taken asaneggorjuvenilèfrom
   thewildandrearedinacontrolledenvironment;CGC''denotesaaimalsbredincaptivity;a11subject
   to certain otherterm sand provisionson the Convention.

                 UnderTitle50,PM 14,oftheCode ofFederalRegulations,allimportsofwildlife,

   including long-tailedm acâques,mustbedeclaredtotheFW S on acompleted,signed,and certified

   beclaratiohforImportationorExportationofFish andW ildlifetFon'
                                                                n3-177)andmadeavailable
   forinspection.Form 3-177requiresimportersortheiragentstoprovide,nm ongotherinform ation,

  the sotzrce ofthe wildlife thçy arr importing,specifically whetherthewildlifewas captive-bred,

  fnrm-raised,
             .orwild-caught. Importers or their agentsm ust filrnish allapplicable information

  requested on theForm 3-177 and mustcertify thattheinform ation funlished istrueapd complete

  to thebestofhis/herknowledgeandbelief.50 CFR 14.61.

          12.    OM ALISS KEO wastheDirectorOeneraloftheM inistry ofAgriculture,Forestry

  and Fisheries(M AFF)ofthe GovernmçntofCambodia and Chairman ofthe CITES Sdentitk
  Authority forTerrestrialForestand W ildlifeResotlrces,with oversightand responsibility forthe

  issuance ofCITES exportperm its.

                 M ASPH AL KRY was the Deputy Diredor ofthe Departmentof W ildlife and

  Biodiversity within the Forestry Adm inistration ofthe M inistry of Agriculture, Forestry and

  Fisheries(M AFF)oftheGovernmentofCnmbodia.
                JAM ES LAU was the Presidept,Chief Executive Officer,and owner ofVnnny
                                                                                       -
                                                                                       )


  Bio-Research CentertlGvanny HK''),laterre-named Vnnny Science DevelopmentLTD,which
  w as a H ong K ong-bas'ed com pany engaged 111, am ong otherbttsinesspthe captttre and laundering

  ofwild-caughtlong-tailed m acaquesin Cnmbodia,forexporttotheUnited Statesand elsewhere.
    Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 5 of 27



                                                                                                                      . ..                '                                  (               -
                                   15. DICKSON LAU wasthecGertçralV am gerpfVarmy HK and also servedasthe
               Sçientitk M anagerforVpnpy HK.

                                                           SUNNY CHAN was'
                                                                         theM anzgerofOperatipnjYorVanny HK. CHAN handled                                                                                                                            .




               èthecoordinptiop ofshipmeqtsofwildcaughtloflg-tailedmacaquesexportedtotheUnitedState!                                                                             .       ,



               frop lcam bodia.

                                   17. M PHAEE CH EIJNG$ M A # wask,thç Public Relations M anac
                                       .       '.
                                                                                                rr and Export
                                                                                              *-6         .
                                                                                                                  -                           v                                                          '..
                                           .                                                              .



.
      ' '
         )'
               M ana-*qer?ortwö
                      -'      ''
                               .'
                                  facilities ofVnnnv HK
                                                   *' .
                                                         in Cambodia operatedçby a subsidiary,Vanny Bio-
                                                      ' ...                                               .

                       7   .                                                                                          .                                              g                                                  -                                                                               --
               RésèarchCambodia(''vBRc''), afPlwo
                                                . m Pen.
                                                       taa
                                                         'nd
                                                           :
                                                             P'usat. CtIEIJNG coerdinqtedthedel.ivrty
                                                                            .
                                                                                                                                                                         .

                                                                                                                                                                     .               '
                               .                                                    .                                 .                                                                                                                                            J.                             . ,
               ofwlld-caughtlong-tailed m acaqueswto theVBRC fàcilitiesin Cambodiafôrexpbrt.to theaupited

               states.
               .




                                   18.                     SARAH YEUNG,who wasphyyically located atthe officeq ofVaptly HK,was
                                                                                                                                                                                                                        .                                                                     ('
               the Finqnce M ânager for VBRC.YEUNG executed the financial.
                                                                         trànsaétion; thaf provided
                                                                                .                                                                                    '                                                                   ,               -                 '        ---
                                                                                                                                                                                                                                                                                              ,
                                                                                               ..             .                                                              .                                                  ,.           .. -                  .
                                                                                                                  .                                                                                                                                                $'
                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                .                                   %
. .
               fuqdingtoVBRC'SPhnom Penh andPursatfacilitiesforpaymrntto'blackmark/ collectèrsand
               M AFF employèesforwild long-tai1ed m acaquescapttlred by thim apd delivkred jo'VéRC'S                              .                                                                                                              .




               facilitiésforexporttothéUrlited States.                                                .

                                                                                                                                                                             '
                                                                                                                                      .
                                                           tIIN'
                                                               G IP CHIJNG was GenéralM
                                                                                      L'anage<r ahd M anaging Dip ctor of VBR C.
                                                                                      :                                                                                                                                                              .


                                                                                                                                                                                                                   '
                                                                            .

               CH UNG facilisated paym ents'to Cambpdian governm e'ntofficiàlsfortheir itwblvem ent'
                   .
                                                    '.
                                                       .
                                                               '                .. ...
                                                                                     '''        '''
                                                                                                   .in the                                                  -,
                                                                                                                                                             .
                                                                                                                                                                                                               -                             .                     a       .
                                   -                                                       .              '                  ..               '                                                          '                                                         '        '
                                                                   ..                                                                                                                    .                                                                                                .


               capt
                 -
                 D
                   ure ofwild long-
                   '             .
                                   tailed m 4caques and paym ents mpde to black m qiketcollectors öf wild-
                                                           .
                                                                                                                                                                                                 .                     ..r                                   .
                   .                                                                                                                                        .                '
      . .. y                                         .                                                                                                                                                                                                       ''

               çaughilong-taîlçdmaçaquesfotexporttotheUnitqdStatqj.

                                                           Unindicted.Co-conspirator1(UCC-I)wasacompany fornwd underthe lawsof
                                                                                 .                                                                      .                                            '                     .'                                ' '                    '   C          .
                                                                                                                                                                 '               >                                     '                                           ''
                           .                                                                                                                                                                                                         -
           '
               thrState(jfFloridk wjtyhitylistedlplaceofbusinessintheSouthem Districtof,Florida,which
                                                                        .                      .




               epgyéed in theimpplkation and sgleofnon-hizfnan prim ates,itwludihg:
                                                                                  long-tailed m acaques.                                                                                                                                                               .
                                                                                                                                                                                                                                                                                K
                       .                        .              ' 2                                                                    .           ..-
Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 6 of 27




                                   Unindictçd Uo-conspirator2 (UCC-2)wasacompany formed underthe law sof                                                                      .




     the State of Texas, w ith its listed place of business in A lice, Texas,r w hich 'engaged in the

     impoftationanctsaleofnoq-humapprimates,ir/udyipglong-tailedmacaques
      .                .
                                                                       ..               .                   .
                                                                                                                    .



                                                                                                        C O U NT I
                                                                                                     Cbnspiracy
                                                                                                    (18U.S.C.j371)
                                           e                                                                                                                          .

                                   The G eneral Allegasiqns sectitm qf this Indictm ent is realleged and ipcorporated                  .




     refemncehewin,asthough setförth inxitsçùtirety.                                                                    .

                           '
                                                                               (                                                            *
                                                                                                                                            .
                                   Beginning on an tmknown date,butatleaktàsearly ason oraboutt
                                                                                              D ec.
                                                                                                  ember19,

     201.7,andcöntinuingthrougi oq(lraboutJanualy 7Q,2022, intheSouthernDistljctofFlödda '
                               .                -       '-
                                                                                                    .
                                                                                                                            ''       '. .
                                                                                                                                                     .                                . -



     and elsewhem ,the defe'ndants,

                                                                                        qM ALIVSKEO,
                                                                                        M ASPHAJUKAY,
                                                                                         JAm sLAU,
                                                                                        DlèkjoN LXIJ,
                                                                                            SUNW CHXN,
                                                                      .
                                                                          RAPItAEE'CIIEUNG M AN
                                                                                            '


                                                                                   SARAH
                                                                                    Z    YEUNG,an#
                                                                                                NG IP CH UNG ,

     did willfully'
                  ,thatisj'wifh the intentto furtherthe objeçts ofthe'conspira'cy,yand knowingly                                                                                            .




 '
     combine conspire.confederate.and acreew ith each othe
          .'   .   .'
                   '           A'
                               .           ''            '
                                                           rand w ith otherpe
                                                                 ''        '*'
                                                                               rsonsinothknownand'
                                                                                   , x-'r
                                                                                    ;.
                   .               .   '                                                .                           .                                    ..   .


     unknoFn tp theGrand.lury,to cdmm isc'
                                         ertain offensbsagainsttheUnited States,thatis:
                                                    '
                                                    .


                                            a. tqimport,exporqtransport,séll,receive,acquire,andptzrchAsçany wildlife,'
                                                    thatis,long-tailed macaques(Macacafascicularls),kv'wing thatsaid
                                                                                                .
                                                                                                                -                '                   -            '       '

                                                    wildlifewastalwn,possessed,transported,and sold inviolMtipn ofany law,
                                                    treas,az!dregulation.oftheUnited States,inviolation ofTitle16,United
                                                    StatesCode,sectlon 3371(a).
                                                                           .  (1)-
                                                                                 ,         ''             (             :
                                           b. to m ake wld w bm itany fa
                                                             .
                                                                       'lserecord,accotmt,and labelfor,and any fqlse
                                                     identttkation of, any wildlife,that is,long-tailed macaques (M acaca:
                                                    fascicularis),which has been,éntliy injended to'be,impprtèdk.exported,'
                                                                                                .       .
                                                                                                                                                                  .               .

                                                    transported,sold,ptlrchasèd,and reçeived from any tbreigp cotmtry;and
                                                                                                                                                .5
Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 7 of 27




                           transportedin interstateorforeign commerce,in violation pf16U.S.C.j
                           3372(d)(1),(d)(2);and
                       to fraudulently and knowingly importand bring into the United States any
                       m erchandise contrary to mly 1aw and regulation of the Ulzited States, in
                       violation ofTitle 18,United StatesCode,Section'545.

                                        Purpose.ofthe Conspiracy

                    The purpose ofthe conspiracy was for the defendants and their co-conspirators,

      know n and tm know n to the Grand Jury,to sm uggle CITES Appendix 11protected species,thatis,

      long-tailedmacaques(Macacafascicularis),intotheUnitedStatesfortinancialgain.
                                 M anner and M eans ofthe C onspiracv

             Themalmerandmeansbywhichthedefendantssoughttoaccomplishtheobjectsand
                                    J
      purposeofthe conspiracy included,am ong others,thefollowing:

                    The defendants and their unindicted co-conspirators established facilities in

      Cambod. iapup orting to breed long-tailed m acaque!forsaleontheworldm arket.

             5.     Thedefendantsandtheirllnindicted co-conspiratorsengàgedwith custom ersin the

  U nited Statesand elsewhere and entered into contractualagreem entstp selland exportpurportedly

      captive-bred m acaquesfrom CnmbodiatotheUnited States.

            6.      ThedefendantsandtheiTunindicted co-conspiratorsestablished alogisticssystem

  to allow buyersto inspectm acaquespriorto sale,including through theuse ofveterinarians,to
  '




  test the m onkeys for disqualifying conditions,quarantine shipm ents prior to export,and arrange
                                                                          .




  thenecessary grotmd and aiitransportationto facilitatethetransadions.
                                                                                    J
            7.      The defendants and theirunindictçd co-conspirators arranged to illegally puzchase

      additionallong-tailed macaquesfrom black m arketsuppliersin Cnm bodia and Thailand to m ake
                                                                                     .




  up forthelack ofsupply ofsuitablemonkeysattheirptuportedbreeding operattons.Theblack-
  m arketsuppliers,kincludingM AFF,identified inVnnny HK andVBRC recordstlirough theuseof
Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 8 of 27



     the lettersA,B,C,D,E,F,G,H,K,P,and X,would primarily deliverthe illegally acquired

     m onkeystotheVBRC facility atPtlrsat.

                   The defendantsand theirunindicted co-conspiratorsutilized the servicesofM A FF
     anditsepployeestofurtherthepurposeandobjeètsoftheconspiracy,and:
                   a. To secureCITES exportpyrm itsFhichfalsely identiûedwild-ckughtm acaques
                       RSCRPIW Cbccd irlt11CVZRC facilities;         .


                   b. To act as the source,under the designation of Black M arketCSupply uuA ,NNojx
                       w ild-caught m acaques from N ationalParks and protected areas w hich M A FF
                                 '                                                  ;.
                       employeesdeliveredto VBRC forlatersaleand exspoft;
                       To provide TransportPerm its which allowed m acaques upspitable for the
                       exporttradetobesentfrom thePttrsatfacilitytothePhnom Penh facilitywhere
                       they were euthanized and theiridentification tag:transferred to wild-caught
                                                                                    .


                       macaqpes,to m ake itappearthe black-m arketm onkey!were.captive bred at
                       VBRC facilities;
                   d. To provi
                             /
                              de unofficialcollection quotas,for wlzièh cash pqyljlents to M AFF
                       wereauthorized atVnnny HK andm adeby
                                                          'VBRC employees.
            9.     The defendantsand thei.
                                         rllnindicted co-conspirators delivered V d caused the
                                       >
 '
     delivery ofwild-çaughtlong-tailedmacaquestovariousintemationatai
              .                                                     rportsinth'
                                                                              eUnitedStates,
     accom panied by Cnm bodian CITES Perm its and FW S Form 37177s fals:ly identifying the

     m onkeysascaptivebred.

                   UPon entry'into theUnited States,thelongztailed lacaque shipventswouldbe
                                                                                        .




     forwarded by truck from the port of entry to a quarantine facility designated by the             ,

                                                                                    (
     importer/cpùsigpees,whowerelocatedinvariousstates,includingthqsouthern DistrictofFlorida.

                                                 O vertA cts

            ln furtheranceoftheconspiracy,andtoeffecttheobjectsandptpposethereof,therewere
              '.                             .           u                          '                 .



     com m itted.and caused to be com m itted by atleast one of the co-conspirators her
                                                                                     ,
                                                                                       ein,
                                                                                          ù wit
                                                                                          !   hin the
                                                                                                  -
                                                                                        -



     Southern DiktrictofFloridaand elsewhere,atleastoneofthe following overtactsy.am ong others:
Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 9 of 27




                    On or about D ecem ber 19, 2017, M PH AEL CH EUN G M AN m et with,

     OM ALISS KEO and discMssed KEO 'sroleinthe collection ofwild long-tailed m acaquesfrom

     Cam bodian N ationalParks.


                    OnoraboutDecember19,2017,RAPHAEL CH/UNG MAN advisedJAM ES
     LAU,HING IP CHIJNG,andNARAH YEUNG byemailthatOM ALISSKEO would arrapge
     forM AFF stafftocollectsomeWhereround2,000lonkeysforVBRC,forwhich VBRC would
     becham ed a ItRoyaltytax ofU S 31,
                                      .50 toNation Treastlre...,'' and thatKEO GGwillinstnzctthe
     Dl
      grectoroftheNationalPark tawork outa suivey repor'tqfthe animalpopulation.''
                                  .




                    On or aboutM ay4,2018,RAPHAEL CHEUNG M AN emàiledJAM ES LAU,
                         .

        '
             y...
            ..          .             .

     HING IP CH IJNG,and SAR AH YEIJNG >dvisingthem thathehadtold OM ALJSS K EO that
     they were shortofanim al'
                             sto exportand needed 300 tp 500 headsto 511511a July orderand that
     Itxo would tl'
                  y !o'persuade his superiorto allow colledtiqn ù'fthe needed m pnkeys. The email
                         -            I
                                                                 .               .                    I


  .srtherre.
           oo
           A rtedtlaatan<
                        vconedion b*
                                   v
                                   e
                                   'MAI'F persomwlwouldhave
                                               .
                                                   x.
                                                   .      'tobeafurufcomingJuly29'
                                                                         '   .       ...     .-
                                                                                           ...



     elections to avoid unnecessary attention from the public and)non-governm ental organizations

     (NGos),butthatvBkc could collectmonkeypimmediately andthey wouldbeoffsetagainsta
                                      J
                                      .

 ,   collection quotaof7,000Jnorlkeysthatwouldbeissuedon M ay 17.Theem ailalso requestedthat
     thedefendantsa/angeto inakeapaymentof $40,000to M AFF.

                    On or aboutJtlpe 14,2018,RAPH AEL CH EUNG M AN reported in an email
                                      v
                                                                     '
                                                                                                  .



     addressed to JAM
                    k ES LAU.
                           1 '' H'
                                 .ING IP CH UNG .
                                                ' SAM H YEUNG.
                                                             '' and SUNNY
                                                                    r     CHAN that

     CHEUNG M AN received inform ation from OM ALISS K EO th>ttheM inistethàdapproved and

     issuedthecollection qpotaand finalpaym entshould bem adeto V AFF.
Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 10 of 27


                                                                                                                                                                                                                                                        1'
                                                                            .
                                                                                                                                                                                                                                                             j.
                                                   Later on' June 14, 2018, in an em ail'
                                                                                        addressed jo JAM EM I:AU',HING IP                              x


                                                                                        1         .         .                          .
                                                                                                                                           .

   cucxc,sku tlvscxG,andstxxv cuwx,ltAéllAst,f?u&rcxc M Axsqueste4rrom
                                                                                                                                                                   ''
                                                                                                                                       .                                                                             )
   YEUNG a tçfin'
                n date forrem itt% ce''asheneedéd to respond to OM ALISS K EO and advised
                                                                                                                           '
  .                                                                                               .                                                                                                                  !
   the'recijiçnts.thqttûbesideseleçtion cnmpaignsstartmosjofficialjneqdthe.ftuïd.''.

                           6.                      0n or aboutJupe 25;2018,R APH AFL CHEIJNG M .
                                                                    '
                                                                                               * .
                                                                                                 *'
                                                                                                   alonk
                                                                                                       Yv
                                                                                                          wi
                                                                                                           th IIING IP
                                                                                                           ' R' '
                                                                                                              .                '       -   '                            --
                                                                                                                                                                                           '
                           y


  .
   CIIIJNGiSAIG .lJ YEUNG,
       .)     .     '
                          '
                          apd stm W cHAN,
                          y
                          '           '.
                                         .rrceived a remitpnce dpçttmeùtfr
                                                        ,
                                                                         .
                                                                          om a
                                                                             .
                                                                              n                                                    .
                                                                                                                                                                                                     '
  .                                                                                                                                                                                                                                            .


   em ployee at Valmy HK refleding thaf $83,259.00 origipating from Vanny Chain Technology

   (HongKong)Limited.pqssqdthrougù theBank ofApertca,N.
                                                      A.inxes vork,NY and was                                                                                                                                                .

                                                            -
                                                                        .                                         -                                -                                                                                 t
   rçceivedbyVBRC'SCambodiahbank.Item iz4donthereinitlyncewas$40,900.90forGTP Apimal
   collectiön20j0fleadsr''
          '
                       .       .                                .                                                                                                                                            '       '



                                                                        ' .                           .                                                                                                              '   '
                                                                                          '
                                                                                              .                                                                                                                      .
                                               .   Où orabputJuqe26,20,
                                                                      18,an employeeof'
                                                                                      V pnny.HK sent0 em ailto R APH AEL
                                                                                                                  1 ''                                                                         .                                         ' -
                                                                                                                                                                                                         c
                                                                                                                                                                                                                     7
   CHEI/NG.M AN,HIN: IP ctltlxG,scxxv'cllu ,andsAuAu yEtTxG withakauwhed
                   .               '
                                   %.                                                                                                              .                                                                     -
                                                                                .                                                          ..                                                                y ..
   VBRC internalaccounting doztlm enyGTP Purchgse Application Folw PF N ui'nberC1/E/18-06-
                                                        '                             .
                                                                                                                                                                                                         .         .             '
                                                                                                                       .
                  ..                               - ''                                                                                                                      '                                   '''                       .

   18,'which refkcied a''Donation forcpp Party.(Requestfmm M r.oialissl''ip4heo otmtof                    .




   $10*
      7000.00. The document wAs signed by CHUNG and CH EIJNG .M '
                                                                AN :nd contained a
                                                                                                  :

   notation thatread,lGspoketo M r.Lau.''

                           8. :LateronJune2j,2018,RAPHAELCHEJJ.
                                                              NG MAN byJlhailprpviàedacopyof
                                                            k           '
                                                                                                      .                                                                               .

   M AFF Colltctioa PennitNo./298.forthe collection of2,000monkeysby'
                                               .
                                                                    VBRC toJAM ES                                 ''                                                    -    '   '   '''           '''           '       .




   LAV.HING IP CHUNG,jAVAH YEUNC,andSJJNNY CHAX.
                               .                    .                                                             .'




                                                   onoraboutJufy21,2018,VBRC shipped440satnplesofblèldsérulh drawn
                                                                                                  '                                                .                                                                 '
                                                                                                                                                   .
   from longrtailed m acaque
      '                    '
                             s to! .an analyt
                                   '---    -'
                                              icallaboratory in Sah Ansbnio.Texastq be tested;
                                               .                                --'                                                .           -                   -'                          -                                     .
                                                                                                                                                                                                                                                   -'

                                          ''                                                                                                               .
      (
   sltippingLdocllments àcçomèaqying tie snmples identified'them as rèlatçd to shipmént                                                                        .
        Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 11 of 27




              U SA 1811, apd .the accom pynying CITES Perm it K141324 identified the source of the
                                                '                  '
                               .


              m onkeysascaptîve bred.
                                        .       J
                        10.   On oraboutJuly 25,2018,U CC-I,located in the Southèl'n DistrictofFlorida,

              im ported a)shipm entidenjified as.
                                                U SA 1810 corkainjng 150 long-tailedm acaqqesfrom VBRC
              atJolm F.KemwdyAirport(JVK),NeF York.

                              On oraboptJuly 25,2018,an FW S.Form 3-177and CITES Penhit1G 1294 wçre

              presepted to FW S at JFK which reflected thatshipm entUSA 1810 w as composed entireiy of

              captive bred m acaques.


                              On oraboutAuqust13.2018.M PH AEL CTTEVNG M AN reported to JAM ES
              LAc,olcxsoxlaAtl,tllxù IP CII'LTNG,SARAH VEtTNG,andscxxvcnAx thathehad
              m etwith V AFF officiâls,including M ASPHAI,KRY,lcnown toCHEIJNG M AN asûIMARK
              SOPHAT,,''dlzring which they discusbed the price forthe officialquota of$150 foreach o/the
              2,000m onkeys,and apriceof$220each fortheunofficialquotaof3,000,which M AFF employees

              Fould colleqtandtranjporttothe
                                          1 .
                                             VBRC facility atPtlrsat.CHEIJNG M AN furtheryeportedthat
                                                                                     .


          '

              M AFF preferred to begin collecting as soon as possible.dlzring.the rainy season,expected to
              com plete a11necessary cqllection beforethe end ofthe yeat', and M AFF w ould provide V BRC 4

              to6V ursofnoticepriortothedeliveries,with thelikely arrivaltimeatnight,alzdthatOM ALISS
                                            .




              K EO verified these points severaldays later. M AFF had also asstlred CH EUNG M AN that

              çGunofficialanirpals''would notappearon VBRC'Sm ontllly'u
                                                                      report, and M AFF wopld concealthe

              0 0tf
                  icial.monkeysfrom thelopalPhnom Penh andPursatofficials.




.   j     .        ..
Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 12 of 27




                 O n or about A ugust 24, 2018, U C C-I, lodated in the Southern D istrict of

   Florida,im ported a shipm enf identified as U SA 1811 containing 360 long-tailed m acaques
                                                                     .




   from V BR C atJFK A irport,N ew Y ork.


          14.    On oraboutAugust24,2018,an FW S Form 3-177 and CITES Perm it1G 1320
                                                          '
                                                     .

   werepresentedtoFW S atJFK which reflectedthatshipm entUSA 1811wascomposedentirely of

   captive bred m acaques.


                 On or aboutN ovem ber 2,2018,RAPHAEL CH EUNG M AN sentan çmailto

   DICK SON LAU,H ING 'IP CHIJNG,SAR AH YEUNG,and SUNNY CHAN in which he
   reported having m et with the M AFF collection tenm leader,M ASPH AI,K RY , known to

   CHEUNG M AN as CGMA R.
                        K SOPHA L,''and advapced US$10,000 to him to carzy on the
   collection,that they had.mutually agreed that M AFF would collectand deliver 300 anim als
                       ,




   Weighingbetween 2to 4kgswithinthemonth toVBRC,andthattheM AFF empioyeewasaware
                                                                         .




   thatVBRC wouldn'tacceptand would rejectany infprioranimal.CHEUNG M .
                                                                      AN asked his
   supkriorsforthefundsnecessary to settle beforethe end ofthe m onth,representing the am otmts

   owed toM AFF forthe300m onkeysandforRoyai
                                .          tytaxesdueonthçofficialquotaanimals.

                 On '
                    ol aboutM ày'11,2019,a shipmentof360 long-tailed m acaques, contai'
                                                                                      rling

   approxim ately 74wild caughtmonkeys,and identifiedasUSA 1973, wasimportedinto theUnited

   StatesatJFK,and drliveredto UCC-2 in Alice,Texas.

                 On M ay 11',2019,O FW S Form 3-177 andCITES Permit1G 1391w ereprrsented

   to FW S atJFK in New York,which reflectedthatshipm entUSA 1973 wascomposed entirely of
   captive bred m acaques.
Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 13 of 27




                     18.   On oraboutJune27,.2019,a jhipmentof360 long-tailedmacatues,containing
                                                4   . .           .



      approxim ately 194 wild caughtm onkeysand identified asU SA 1974,w asim pbrted intothe United
                                                                                          .




      States atJFK ,and delivered to U CC-2 in A lice,Texas.


                     19.   On June27,2019,an FW S Form 3-177 and CITES Perm itK H 1407w erepresented

      to FW S atJFK in New York,Which reflectçd thatshipm entUSA 1974 wascomposed.entirely of
            .                                                                 .                   .
                                                                                                      .   '
                                                                                                                      .
                                                                                                                                    '

                                                                                                                                    )
      captive bred m acaques.


                     20.   OnoraboutAugust29,2019,M ASPH AI,KRY,accoppaniedbytwootherM M F
                                    .                             '
                                                                      ,                                           .            j
  (em ployeeg,delivered 17 wild lo
        .        .
                                '
                                 :
                                  ng-tailed zhacàquestotheVBR/ facilityat.
                                                              .          ptlrsat'
                                                                          -
                                                                               t                                           .




                           On or about Septem ber 1,2019,M ASPH AT,KRY ,accom pAnied by two other

      M AFF em ployees,.dèlivered 24 wild long-tailed m âcaquesto VBRC'Sfacility iù Pttrsat,dlzripg

      Which KRY suggestedthatthe)landimmediatelybehindtheVBkC.facilityshottldbepurchased
      tomakçaroadthatwogldmakeittGmoresafefortiesmuggling.''
                                                                                                                          ..   !
                     22.   On oraboutSeptember3,2019,Black M arketSupplierD wajpaid approxiinately
                                                                                                                               l

      $10,380 for the delivery of approxim ately 60 wild caught long-tailed m acaqués.to the VBRC

      facili'ty atPursat.

                     23.   Qn oraboutOctober8,2019,HING IP CHIJNG infonned SAR AH YEUNG by
                                            .                                     .   .               .
                                                                                                              '




      em ailthatVBRC didA'thavç enough cash on hand aftèrhaking madepaym enss to M AFF and                                          .
                .'                              .



      requçsted $30,000.00 from YKUNG forthe collection fund to pay foran additidnal100 anim als
                                        '                                                                         ' '
                      .                                                                                                        .'



      F hich w ere on theirw ay.

                     24.   On or about O çtober 20; 2019, M A SPH AI. K RY , accpm panied by two other
                                                                                                                               '
                                                          .
      M AFF employees,delivered 20 wildlong-jailçd p acaques'totheVBRC facility in Pursat.
  '                                             )                                             .                                k
Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 14 of 27




          25.         On oraboutD ecem ber13,2019,Black M arketSupplierA w aspaid approxim ately

   $8,360focthedelivety ofapproxip ately 38wildcaughtlong-tailedm acyquesto.
                                                                           theVBRC facility
   atPtlrsat.


          26.         On oraboutJanuary 16, 2020,ashipm entof288longrtailedm acaques,containing
                                          '
                                              .,
                                                                .             ;    u



   aPPCOXimately 237wildcaughtm onkeysandidentifiedasUSA2071,wasimpoledintotheUnited

   StatesatJFK.,anddeliveyed toUCC-2 in Alice,Texas.

          27.         On oraboutJanuary 16,2020,an FW S Form 3-177 and CITES PerrpitK1-
                                                                                      11523

   were presented to FW S at JFK in New York,which reflected that shi
                          .       .       '                        vw
                                                                      pm ent U SA2071 was

   composedentkelyofcaptivebredmacaques.

          28.         On oraboutJanuary 30,2020,Biack M qrketSupplierC wAspaid approximately

   $14,645 forthedelivery ofapproximately 68 wild caughtlong-tailed macaqugstotheVBRC
   facility atPursat.

                      On or about February 21,20207 a shipment of 288 long-tâiled macaques,
                                                                       .           .
                                                                                                       .




   containingajproximately138FildcaughtmonkeysandidentifiedasUjA1916,Wasimportedintù
   theUnited states atN pw ark,N ew Jersey,.and delivered to U CC-I in M inm i,Florida.
             v




          30.         On oraboutFebrual'y 21,2020,én FW S Form 3-177 and CITES PermitK111524
                                      '                                                           -
                              .



   w ere presented to FW S at Liberty Intem ationalA iqm rtuin N ew ark,N ew Jersey w hich reflected
                 ..
                  .                                                                1

   thatshipmentUSA1916'Vascomposebentirely ofcaptivebredmacaques.

                      From on or aboutM arch 11,2020,tö :on or aboutO ctôber 20,2020,V BR C paid
                                                                                                       .


   approxim ately $2,515,954 forapproxim ately 14,321
                                                    3wild caughtlohg-tailed mdcaquesreceived

   frqm 7 black marketsuppliers.
Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 15 of 27




                  32.        On or about Jtm e 21, 2020, M ASPH A L K RY delivered 35 w ild lopg-tailed '
                                                                                    .




      macaque: to the VBRC facility in Ptlrlat and provideè contactinformation using jhe nnme
      (çj;jZ
           j;jK!477


                  33.        On or aboutJune 29,2020,Black M arket Supplier A was paid approxip ately

      $4,840forthedelivery ofapproximately22 wild caughtlong-tailedmacaquestotheVBRC facility
      àtPtlrsat.


                  34. On November 11,20204a shipment of 396 long-tailed macatues,containing
      approxim ately 323 w ild caughtm
                    .
                        '
                                     .
                                       onkeysand identified asU SA 2011,w asim portedk into the United
                        '=
                   ..                                                                                                             ..
                                                                                                .         .   .   ,
      StalesatbullesInternationalAirport,Virginia,anddelivçredtoUCC-IinM inmi,Florida.

                             On oraboutJanuary 26,2022,in an exchangeofsocialm ediaapp com p tm ications,
                                                                                .   '
                                                                                                    . .               .
                                                                                                                              .        .
                                                                                                                          '
  .                              ,                   i                                                            ;. .

      RAPHAEL'.CHEUNG discussedthebelivery by Black M arketSupplierD ofwild càughtlopg-
                                                         -     :
                                                                       .
                                                                                                                          .



      tailed m acaques to VBR C and received rettu'
                             '
                                                  n confirm ation that 115 m acaques had in factbeen              '               ..
              .



      yeceivedanddiscussedtheexpected delivery byBlack M arketSupplierK of170wild caughtlong-

      tailed macaques.                                                                                                    '

              A1lin violation ofTitle 18,United StatesCode,Section 371.
                        .                    .
                                                                                        '   '




                                                             C O U NT S 2 -8
                                                                Smugglinj
                                                             (18U.S.C.j545)
                                                 .                 .                            '

                             TheGeneralAltlgationssectionofthisIndictmentisreqllegedandjincorporatedby                                     ,


  '
      reference herein,'psthough setforth in itsentirety.
                                     .                                          .



                                                 '                                                                :           .
                             O n oraboutthei
                                         . datesidentified below withrespectto each Cotmtkin M iam i-Dade

      Cotmty,int1)eSouthernDijtrictofFlorida,andelsewhere,the
                                                            'defendants,


                                                                           15
Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 16 of 27




                                                      oM AI,Is#ItE0 ,
                                                      MWSPHAL KRY,
                                                       JA M ES LA lJ,
                                                      m cx so x L AIJ,
                                                       stTxxv CHAN,
                                                  RAIàH AIqL clu vxc m x,
                                                    sARAH vEtJyG ,and
                                                     HING IP cptm G,
    did fraudulçntly and knowingly impol'tand bdng into theUnited Statesany m erchandise,thatis,

    wildçaughjiong-tai'
                      ledmacaques(Macacafascicularis),contrarytoanylaw qndregulationofthe
    United States,through thepresentation offalse and fraudulentCITES Perm itsànd FW S Form 3-.
              .                   ''' .
                                  .
                                                                                    '




    177s:

     COUNT         DATE    SHD M ENT MACAQUESQUAYTITY/                         Am PORT OF ' CONSIGNEE
                            NUMBER    DECLARED VAEUE                             EYTRY     ,LOCATION
         2        07/25/18 USA 1810     150 /$306,000                             JFK        M iam i,FL
                                                                                                    '
                                                                               g.



         3        08/24/18 USAI8)1                     360/$66:1,680                    JFK         èM iami,FL
                                                                                        d
                                                                                                                .

         4        05/30/19 USA1907                     360/$t147600                     JFK '       'M iami,FL
                                                                                                    .
                                                                                                            '
     .

         5        02/21/20 USA1916
                          .
                                                       288/$697>à00           NewarkLiberty M iami' FL
                                                                                                -
                                          .                           -   '
                                                                                            ('         '
         6 ' 11/11/20 USAZOJ1                          396/$1,162,81)          Dulleslnt'l. :M iami,FL
                                                                  '
                                  .                                            .


         7        05/27/21 U S.A2104                   540/$1,755,000          DullesInt'l.             M iam i,FL

         8        12/17/21 USM 109                     549/$4,050,000               O'Hare          'M iami,FL


             In violation ofTitle18,United StatesCode,Sections.545and2.
                              .




                                                       FO R FEITU R E

              1.    The allegations oftllis Superseding lndictmentarè hereby reallejed and by tllis
    referencet'
              ully incorporatedhereinforthepurposeofalleging forfeitlzrestotheUnited Statesof
                                              '
N


    Am erica of bertain property in which the defendants, O M AI,ISS K EO , M A SPH A L K R Y ,




                                                             16
Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 17 of 27




     JAMES LAP,DICKSON LAU,SUNNY PHAN,RAPHAEL CHEUNG MAN,jARAH
     Y EUN G ,and H IN G IP CH UN G ,have an interest.

                        2.           U pon convictioq ofaconspiracy tofcom m it,or'
                                                                                  aviolation of,Title 16,U nited States

     Code,Section 3372,asalleged in thisSupèrseding lndictm ent,the defendantsshallfoffeitto the

     Urlised States any and al1wildlife imported,exported,transported, sold,recçived,acquired,or
                                                                                          .




     purchased qontrary to Title 16,United Stqtes Code,Section 3372,pursuantto Title 16,Uùited

     State: Code,Section 3374.
                                                                                                           ''
                             .
                                 .   Upon convictiop of a violation of Title 18,U llited States Code, Sed ion 545,as

     alleged in thisSupersedinjIndidment,thedefendantsshallforfeittotheUnitqd StasesofAm erica
     qny gnd a11property,realor personal,which constitutes or is derived from procqedstraceable to
                                                         .

                                                                                                       :
     theoffenseor'offenses,pmsuanttoTitle.l8,UnitedStatesUode,Section 982(q)(2)(B).

                A1lpursu>nftoTitle16,UnitedStatesCode,Sçction)374(d),Titt'
                                                                         e18,Ur/e
                                                                                (
                                                                                  dStgtesCqde,
                                                                                  '                ,



     Section 982(a)(2)(B),andtheproceduressetforthinTitle21,UnitedStatesCode,Section 851,as
                                                                                      '
                                 .



     inçorporated by 28,United StateàCode,Section 2461.


                                                                          A TW C S1


           '        .                                             '
                                               ..

        .                                           z/       (%
     Jl)       -.   ARTONI                 '
                                               k     M .EZ
     UNITZD STATES AT                                RNEY
      ;.                               .             '

                        '
 .
     T omayWl  atts-yitzG rald
     AssiqtantUriitedStatejAttohney
 Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 18 of 27
                                          UNITED STATESDJSTRICT COURT
                                          SOU TH ER N DISTR ICT O F FLOR IDA

UNITED JSTATES OF AM ERICA                                   CASE NO.:22-2(340-CR-W 1LL1AMS(s)

O M A LISS KEO ,ET AL.                                       CERTIFICATE OF TRIAL AW ORNEY*
                                              /              Superseding Caselnform ation:
                         ' D efendants. '
CoprtDivision(selectone)                                     New Defendantts)(YesorNo)Yes
    ElM iam i ' E1Key W est L.FTP ,                          NumierofNbw Defendants 1
    L
    ' FTL       L
                '.W PB     '                                 TotalnumberofN ew Counts O

ldo hereby.certify that:
  1.       Ihqv'e caryfully considered the allegations ofthe indictment, the numberof defendants,the number ofprobable
           'witnessesipdthelegalcomplexitiesoftheIndictriïent/lùfonnation attached hèrelo.
       '
                     .                r              .

           1am awarçthattheinformationsuppliedonthisstatementwillberelieduplm hy!heJudgçsofthisCourtinsetting
           theircalendarsandschedulingcriminaltrialstmderthemandateoftheSpeedyTrialActyTitle28U.S.C.j3161.
                                                             -                                       t
                                 .

           Interpretef:@ esorNo) Ye's
           Listlanguggeand/ordiale'ct:M az
                                         ndarin Chinese'K m er
           Thiscasewilltake 15 daysforthepartiesto try.

           Please check apprppriate.category and type ofoffense listed below :
           (Checkonlyone)                           .(Checkonlyone)
           1 E1 07to. 5 days                      L,petty
           11 IQ' 6to 10 days                     E1M intjr
           III Z 11to29 days                      L M isdemeanor
           Iv E1zlto 60 days                      z.y'elony
           V EI61daysand over        .




           Hasthiskasebeenpreviously'filedinthisDistrictCoul'
                                                            t?(YesorNo)yes
           lfyes,Jtkdge w illiams                                Case.No. 22-20340-cR-W II-IuIAM S
           Hasacofnplaintbeenfledinthismatter?(YesorNo)No
           Ifyej,M âgistrate CaseN oz                                 '
           DoesthijcaserelatetoapreviouslyfiledmatterinthijDistrictCourt?(YesorNo)Yes
           x

           Ifyes,Judge               '                           CaseN o.please see attached fcjrm       '
  9. Defqndaùtts).infedçralcustodyasof
  10. Defendarjtts)instatecustödyasof
  11. Rule20iom the               District.
                                          of
  $2. Isthisapotentialdeathpenaltycase?(YesorNo)No                                                           :
  l3. Doesthi'
             sèase originate from a m atterpending in theN orthern Region oftheU .S.Attorney'sOffice
           pr'iortoAugust8,2014(M ag.JudgeShaniekMaynard?(YesorNo).N0
           Doesthis'case èriginate from ; m atter'pending in the CéntralRegion ofthe U .S.Attorney's Office
           PriortoOctober3,2'
                     .
                            019(Mag.JudgeJamd'Strauss?(YesorNo)No
                                     .-                  '
                                                                                                     C   .
                         .   '                                                                       .
                     )                                                                               r

                                                                                      %              ;

                                                             B y:           -        ' -.
                                                                                        -.         ',.'
                                                                       Th m asW atts-Fit G erald
                                                                       A ssistantU nited StatesAttorney
                                                                       FLA BarN o. ' 0273538 '
     Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 19 of 27



                                                                                                          'J   .


                                                                                     IJNITED STATEjIG TRICT COURT
                                                                                     SOUTHERN PIjTRICT QF FLORIDA
                                                                                     casexo.22-2ts40-cR,w Itk
                                                                                                            'ïwvsto .
                                                                                                                   .



                                                                . :                   '

                     UNITEP STATES OF AM Em PA
                          .                     '                .       .
                                                                                      '
                                                                                                  .




                     V.
                                                                                                                       CERTIFICATE OF TRIAL
                 .
                     OMALISSKEO.ET AL.
                      .   .%                    .                    -           I    .
                                                                                          '
                                                                                              .
                                                                                                      /                ATTQRNEY CONV NVED
                                                                                                                       '   .




                                                PREVIOUSLY FILED M ATTERS IN DISTRICT COIJRT


                     1:18zmj-2,
                              18
                               L
                                .
                                4-JJ1O-                                                                                            1:20-mj-41
                                                                                                                                           ;
                                                                                                                                             33t'Lp1lij
                                                                                                                                                   .
                                   .       Qu       q '                                                                                                           ê
                                                                                                                                                                  '
                                                                                                                                                       .     ..


..
         ,           1:18umj
                      .
                              -2580-V caliley :
                           :.vL                     .
                                                        .
                                                                                                                                   1:21rmj-2251iAOR
                                                                                                                                                   '   .
                                                                                                                                                   .         t        $
                                                                                                                                                                      .
 .
     .
                 .
                     j.jgsmj.380VJJO                                                                                               1:21-mj-2252-AOR
                                                                                                                                                       !T    :
                                                                                                                                                             '
                                                                                                                                                             ,

                     1:19-mj-21.84-V cAlilçy
                               ,
                                       .        '
                                                                             .
                                                                                                                                   1*
                                                                                                                                    '2'1-mj-225)1k
                                                                                                                                                 AOR
                                                                                                                                       >

                     1:19-mj-21à5uM cAli1e'hy                                                                                      1:21 m J.c229
                                                                                                                                           -
                                                                                                                                              .
                                                                                                                                                4r;
                                                                                                                                                  A OR
                                     è -                    .
                                                                                                                                               /        -
                                                                                                                                                       . -        /


                     1:19-'
                          -
                          111J
                             *'
                              2292O-JJO
                               .                                                                                               '1:21-mj-3113i(AOR
                                                                                                                                              '

                     t'20-mj-2267-M cA1i1ey                                                                                    '
                                                                                                                                   1:22-mj-2071(L(mis
                          '                '
                               .                            k,
         .           1:20-mJc2592-
                                 è
                                  Re1
                                   .-
                                     d                      .-
                                                                                                                                   1:22-1
                                                                                                                                   .    14-21lsrReid
             '



                     1:20amj-2674cA0R
                     1:20umj=2730rEGT
                                                        E
                     1:20-pj.4080-EGT
Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 20 of 27
       '                                                             !

                                                                     l
                                                                     l
                                                        UNITED STATESDISTW CT COURT
                                                    SOUTHERY DISTW CTOF'FLORIDA
                                                                  (
                                                                  '
                                                                 P/NALTY SHEET
                                                                  l
               Defendant'sNam e:            Om alissK             l
                                                '           eo    r
                                                                  j
               Case N o:           22-20340-CR -W 1LLlAM S(
                                                    -
                                                          1s)

               Countts)#:1                                        j
                                                                  1


'
       '       Conspiracy                                         1
                                                                  j
     '
. ' ..
               Title 18..United StatesCode.Secfion 371
                      '
                          ..                        .
                                                        '                        .
                                                                                                '
                                                                                                -

                                 ll prisonl ent,:# Yeapt Im prisohm ent....- .          .       ''
                                                                                                      .-.,.=.'
                                                                                                                 .
    '- -
               * M :x/Teèm -ofw.                                                              .'',-' .
                                                                                                     =.
                                                                                                      ,
               *M andatoryM in.Term ofImprisonnkent(ifapplica'bIe):N/A
               *Mpx.SuperviàedRelease:3Years (                           '
               *M ax.Find:Greaterof$250,000orV icethepecuniary gain/loss
                                                                  ,




               Cotmtts)#:2-8
                                                                  t
                                                                  .
                                                                  1
               Sm ugglinc
                                            '

                                                                 r
                                                                  j
           'ritle 18eUnited StatesCodeeSection 545
           .                                             '
            wM ax.Terl ofIm prisonm ent:20 Year
                               .
                                                 lsIm prisonm ent
            * M andatéry M in. ''                1
                                        Term ofImprisonment(ifappliçable):N/A
               *Max.SupervisedReleaje:3Years )
               *M ax.Fine:Greaterof$250,000ortWicethepecuniarygain/loss
                                                                 l
                                                                 i
                                                                 t
                                                                 l
                                                                 1


                                                                 1




                                                                 ;
                                                                 I

                                                                 1
                                                                 I
                                                                 t
                                                                 t
                                                                 i

                                                                 l

                                                                 (
                                                                 l
                *Refersoalytopossibleterm ofincarcerlation,.
                                                           .
                                                           supervised releaseand.
                                                                                fines? (
                                                                                       11dpesnotinelude
                      rejtitution,specia assessm ents,p'
                                                       aroleterm s,orforfeituresthqtm ay be applicable.
                                                                 !
                                                                 1
  '


                                                                                             ::J.-
Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 21 of 27
                                                                                 1
                                                IJNITED STATES
                                                          g
                                                               DISTRICT èCOURT
                                                                       '
                                                                           .u                                .....
                                                SOUTHERN DISTW CT OF FLORIbA
                                           ,
                                                                                 t
                                                                                PENALTY SHEET
  '
      D èfehd@ùt!s N am e: . as hal '

      Case N b: 22-20340rCR - LLIA M S s
                               .-                .     .                                                 .



      Cotmttsl#:1                                                                L                                                        m.
  '   Conspirac                .                 .                                                                                            .                            .




      Title'18 Uhited StatesCo e'.sectioù 371r                                        .           .                       -
                                                                                                                             r . .                             .
                                                                                                                                                                   .
                                                                                                                                                                       .
                                                                                                                                                                               ..


          :''T'
              érI: t'
                    k'
                     ?.
                      y
                      f
                      lkki'
                          p
                          'iijà 'v'
                                  pt.
                                    tlqs:
                                        Yk'Ar'
                                             $$lmptiktihxiikpl).;'
                                                                 ,ï
                                                                  ,)---
                                                                      '-'.-.- .zL.L.uu-'-''
      '
      *'
       4 k'    .
                                                                                          u,,
                                                                                            t'.
                                                                                              -.c-.7'u,-c.
                                                                                                         ,
                                                                                                         -
                                                                                                         ..
                                                                                                          2'-
                                                                                                            s...-''
                                                                                                                  .-,
                                                                                                                    u,t'-...p-
                                                                                                                             's'
                                                                                                                               .'
                                                                                                                                .,'- .
                                                                                                                                      .                                             .-   ....
                                                                                                                                                                                            ,-,..,:-e..
      *M andatpry M in. Ter ofImprisonmleni
                                                                                         .   (ifapplicable):N/A
      '*M ax.Sdpervisvd R ele se:3 Y ears              .                         1
  '*M ax.Fink:GreaJter.'
      .            .
                       of 250,0
                              ..
                               00nrt'
                                    Wicefhep
                                           -''ec
                                           .    uniaa Main/loss                                               .
                                                                                                                     -   ---
                                                                                                                                          .                .




      Countts)#:2-8
  .
      Sm uccllnu .                     .                                                                                 .                                 .

      Tltle18sUnited StatesCbde.Section545:                                                                                                   .
      *V  ax*Terp tff.Im #'ispùment;20
        . andàtd:ryV i                ;
                                        Yea'
                                           rsImptisùnmént
                                                       .           .   .                             .

      *M              n Tèi'm ofIm p/po
                                   .    pmjènt(itapplicable):N/A
      *M
       M'
        >x.'
        qx.Sùpe:
           FiperGre
                viyed
                    at'
                      R
                      erè
                        Vâ
                        of.se:3Y
                          $250,  éar
                               000 os
                                    rf tcethepeèùni>ry gain/lnss
                                     iwi                                                                                                              .



                                                                                 t
                                                                                 k

                                                                                 t
                                                 .                               '
                                                                                                                                          .'v.
                                                                                                                                          j
                                           'J t'Z.L.
                                           ..
                                                                                 <). .                                                            L,
                                                                                                                                                   u.
                                                                                                                                                    =..L..
                                                                                                                                                         -v.j=- ==z
                                                                                                                                                                  .
                                                                                                                                                                  m.....
                                                                                                                                                                       w= r- è
                                                                                                                                                                             'w.
                                                                                                                                                                               -#y?
                                                                                                                                                                                  .,
                                                                                                                                                                                   xA                 Q
                                                                                 1


                                                                                 1   .




          *Refersonly.topossibleterm hfincarcergation?juperv'
                                                           .

                                                            ised .
                                                               .
                                                                 rdvàse-
                                                                       and.
                                                                          fines. Itdoesnotinclude
                                                                                 .
               .
                                                troletèi-
               restitution,specialassessmentfirp>                           t1 ay' be.applicable.
                                                        ihsiorfbéfeituresibà.                                                                                                  '
                       '

                           c               '
                                           .                                     '
                                                                                 t
Case 1:22-cr-20340-KMW Document 9 ) Entered on FLSD Docket 11/04/2022 Page 22 of 27

                                         l
                                 UNITED SG TESDISTRICT COURT
                                 SOUTHERM D ISTR ICT O F FL O RID A
                                           ,

                                         1
                                          PANALTY SHEET
    Defendant'sName: JamesLau              1
                                           !
    CaseNo: 22-20340-CR-W 1LLIAM S@)
                                   1
                                   .
    Countts)#:1                            1
    Conspiracy                             I
                                           q

àsrtrfitle 18.U ilitpd StatesCcideegektion 371
.                                                                    -.   .                 .

      M ax.Term ôfIl prlkonm ent:5 YeàrkIl prisànxhent
    *M andatoryM in.Term ofImprisonm ent(ifapplicable):N/A
    * M ax.Supènrised R elease:3 Y ears
    * M ax.Fine:Greater of$250,000 ortwicethepecuniary gain/loss

    Countts)#'
             :2-8
    Sm uczlinc

    Title 18sU nited States CodesSection 545
    * M ax.Term ofIm prisohm ent:20 Y earsIm prisonm ent
    *M and>toryM in.Term ofImprisonment(ifapplicahle):N/A
    *M ax.Su/ervisedRelease:3Years
    *M ax.Finè:Greater of$250,000 ortwicethepecuhiary gain/loss
                        ..                         S




     '
     kR efersonly to possibl'e term ofincarceration,supervised release and fines. Itdoesnotinclude
                             .

            restitution,specialassessm énts,paröleterm s,or forfeituresthatm ay be applicable.
     Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 23 of 27


                                          UNITED STATESDISTW CT COURT
                                          SOUTHERN PISTRICT OF FEORIDA
                                                      PENALTY SHVET
               D efendant'sN am e:     D ickson Lau

               CaseN o: 22-20340-CR-W lLLIAM S(s)                         .

               Cotmtts)#:1
               Conspiràcy

x'u'
           .
           llkm
   cc.vil.,=
               Title 18.UhitedStatesCt
                                     jèee.section371                 ..     .                                      y:
                M àk.k-
                      er,.
                     ..
                         :'.
                           'o
                            'jjm'pyjjjjy
                                       '
                                       j,
                                        'j,
                                          j,
                                           (ut:yyyuj'
                                                    .sjjjjpgujjyj-yéjuj' ' '-- .,=,.u -.'
                                                                                        =-.---,
                                                                                              -o,
                                                                                                g.nz
                                                                                                   ..w-..5=.:.-..'.-ï'
                                                                                                                     ...
               *M andatoryM in.Term oflmprisonment(ifapplicable):N/A
               * M ax.Stlpervised R elease:3 Y ears       ,

               *M ax.Fine:G reaterof$250,000 ortWicethepecuniary gain/loss

               Countts)'
                       #.
                        .2-8
               Smuggling

               Title 18.U nited States Code.Section 545
               *M ax.Térm ofIm prisonm ent:20YearsIm prisonm sht
               *M andatoryM in.Terl pfIm prisonm ept(ifapplicàble):N/A
           '
               * M ax.Supervised R eleasei3 Y ears
           '*.   Max.i'
                      ineiGreaterof$250,000ortwicethep'
                                                      ecuniarygain/lbss




                 RR efersohly to possible term ofincarceration,supervised release and fines. Itdoesnotinclude
                        restitution,specialassessm ents,paroletermsr.or forfeituresthatm ay beapplicable.
Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 24 of 27


                                         U N ITED STATE S D ISTRICT C O UR T
                                         SO UTH ERN D ISTR ICT O F FLO R ID A

                                                    PEN ALTY SHEET

            D efendant'sN am e:       Sllnny Chan

            CaseN o: 22-20340-CR-W 1LLlAM S(s)

            Colmtts)#:1
            Conspiracv

.
            Yitle18*U'hitedStat
            '
                              o
                               esCodesSection371                                .           '
                                                                                                .           .      '   (. .
                                                                                                                  .-.;-k.
                                                                        .   .                       .       . .

    ... .   # M gr rrerm oflm prisonm ent:5 YearsIm prisonm ent ..',                                    -
            *M andatoryM in.Term ofIm prisonment(1 aphlicable):N/A
            * M ax.Supen rised R elease:3 Y ears
            *M axkFine:Greater of$250,000 or twicethepecuniary gain/loss

            Cotmtts)#.
                     .2-8
            sm ugglipg

            Title 18.Uhited StatesCode.Section 545
            w M ax. Term ofIm pkisoùl ent:20 v:earsIm prisonm ent                       '
            *M andatoryM in.Term ofImprisonment(ifapplicable):N/A
            * M ax.supervised R elegse:3 Y ears
                     .


            *M ax.Fine:Greaterof$250,
                                    '000 ortwicethepecuniary gain/loss                          '
                         .                                                          .




                *Refers only to possibleterm ofincar'ceration,supervised release and fines. Itdoes notinclude
                      restitution,speeialassessm enfs,parole term sr
                                                                   .orforfeituresthatm ay be applicable.
            Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 25 of 27


                                               UNITED STATESDJSTRJCT COURT
                                               SOUTHERN DISTRICY OF FLORIDA
                                                         PEN A LTY SH EET

                 D efendantfs N am e:        R aphaelCheurm M an              ï.

                 CaseNo: 22-20340-CR-W 1LLIAM S(s)

                 Countts)#:1

'

    '

.
        .
                Titlel8vuni
            J. ..       . u
                           ted.StatesCod
                                     :
                                        e.Section 371                                   .        ...
                                                                                                       . .
        -
            :è?rM ax.Teçxh ofIm prisphl ent:5 YearsIm prisonm ent
            '
            .
                 .
                                                                                   . : .                 '
                'y.k andà
                        .'tt
                           -,
                            -r.
                              v-.M'in.Tè.iG
                              y           . -otfImp'risyè
                                                        'hiwihtt
                                                               .Ri
                                                                 'fal
                                                                    kylièkbl'
                                                                            i.l:N/A .       '-     .
                 * M ax.Supervised R elease:3 Y ears ,
                 *M ax.Fine:G reateJr of$250,000 ortwice thepecuniary gain/loss
                                     '
                                                                                                              '
                     ,.          .       .                .




                 Cotmtts)#:2-8
                 Sm uczlina                                                  ,

                 Title 18sUnited StaïesCode.Section 545
                 *M ax.r
                       term ofIm prisônm ent:20 YearsIm prisonm ent
                 *M andatoi'yM in.Term ofImprisonment(ifapplic'
                                                              able):N/A
                 * M ax.SupervisédA elease:3 Y ears
                 *M ax.Fine:
                           y-
                              G reaterof$250,000 ortwicethepecuniary gain/loss                                '




                      WRefèrsonly to possibleterm ofincarceration,superviéed releaseand fines. Itdoesnotinclude
                           restitution,àpecip)
                                             lajsessments!paroleterms,orforfeiturestàatmaybeapplicable.
        Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 26 of 27


                                                         IJN ITE D STA TES D ISTR IC T CO U R T
                                                        SOUTHERN DISTRICT OF FLORIDA

                                                                     PEYALTY SHEET
                    D efendant'sN am e:               Sarah Y eurm

                    CaseNo: 22-20340-CR-W 1LLIAM S(s)
                    Colmtts)#:1


    -

        ..
          r.'Title 18.U pited Statès Cbde.Section 371       -   --       -
                                                                                                                   .


= ...+ -- - y M.
.            . .-M5,..
                     Ti-.!#p-fglm pril-
                        r.            ovzpwntq5Yqars.la
                                     . .   . v   .-   m prijpppçnt .-
                                                          .-                                 -.. .         .
                                                                                             .,,.--.-.-.--s.-'
                                                                                                             ......- -
                    *V andatoryM in.Term oflmprisonm ent(ifapplicaàle):N/A
                    * M ax.Supervised R elease:3 Y ears
                    * M ax.Fine:Greater of$250,000 ortwicethepecuniary gain/loss
                                 '
                             .


                    countts)):2-8
                    Srilucclina

                    Title 18.United StatesCode,Section 545
                    * M ax.Term ofIm prisonm ept:20 Y ears Im p/isonm ent
                    *M andatoryM in.Term ofImprisonment(ifapplicable):N/A
                    *M ax.SupervisedRelease:3Years
                    *M ax.Fine:Greaterof$250,000 ortwicethepecuniary gain/loss




                      *Refersonly topossibleterm ofincarceration,
                                                                'supervised relea
                                                                                'seandiines. Itdoesnotinclude
                           restitution,specialassessments,paroleterms,pr'forteitnrestlmtmaybeapplicable.
              Case 1:22-cr-20340-KMW Document 9 Entered on FLSD Docket 11/04/2022 Page 27 of 27


                                                      UNITED STATES DISTW CT COURT.
                                                      SOUTHERN DISTRICT (?FFLORIDA
                                                                  PEN
                                                                   ;
                                                                      ALTY SH EET

                       Pefendant'sNam e: Hilm Ip Chung
                       CaseNo: 22-20340-CR-W 1LLlAM S(s)
                                                    )'                            .



                       Cotmtts)#:1
                       Conspiracv

                       Title 1.
                              8.United States.CodesSedion 371
-' - -.-. ..
           ....
                  .        M >x.'Iitr
         ). .x.y.w.'k- - ...r-'..r. -
                                     in ofIm pr
                                    -- '''
                                               ijqùm eqt
                                             - '' --'' %' -'
                                                           J
                                                             :5Yk gks.lm pr
                                                               - ' - --
                                                                             isonm çnt ;
                                                                         'R' -..---- -''''          .
                                                                                                        .
                                                                                                            . . .

                       *M andato+ Min.Tèrm ofImprisonment(ifapjlicable):N/A
                       * M ax.Supea ised R elease:3 Y ears
                       * M ax.Finç:Greater of$250,000 ortwicethepecvniary gain/lpss

                       Cqtmttsl#:2-8
                       Sm uccling

                       Title l8runited StatesCode.Section 545                                                   .

                       * M ax.Term ofIm prisonm ent:20 Y earsIm prisonm ent
                       *M andatpryM in.Term ofImprisonm ent(1 applicable):N/A
                       * M ax.SupeN ised R eleasé:3 Y eàrs
                       *M ax.Finç:Greater of$250,000 ortwicethe'pecuniary gain/loss




                           WRefers only to possibleterm ofincarceration,supèrvisrdreleaseandfines. it'
                                                            .                                            dbesnotinclude
                                 restitution,specialassessm ents,parole term s,orforfeitu/esthatm ay be applicable.
